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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiffs,                                4:16CR3039
    vs.
                                                             ORDER
RAHMAN M. NABAVI, AND ISABEL
M. MALLAR,
                Defendants.



    IT IS ORDERED:

    1)    The government’s motion to continue, (filing no. 32), is granted.

    2)    The evidentiary hearing on defendants’ motions to suppress, (filing nos. 24
          and 25), will be held before the undersigned magistrate judge on September
          12, 2016 at 9:00 a.m. in Courtroom #2, United States Courthouse, Lincoln,
          Nebraska. Three hours have been set aside for this hearing.

    August 1, 2016.
                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
